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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

             Plaintiff(s),                     CASE NO. 08-20668
v.
                                               HONORABLE AVERN COHN
D-6, HAFIZ ANJUM,

             Defendant(s).
                                        /


        ORDER GRANTING IN PART MOTION TO TERMINATE PROBATION

      Before the Court is defendant’s Motion to Terminate Probation. Defendant seeks

early termination of probation. On July 21, 2010 defendant was sentenced to 3 years of

probation and restitution of $100,000.00 which has been paid in its entirety.        The

government has responded to the motion. The Court being fully advised in the premises,

      IT IS ORDERED that the motion is GRANTED IN PART. The defendant shall be

terminated from probation on January 21, 2012.

      SO ORDERED.


Dated: October 4, 2011                      s/Avern Cohn
                                            AVERN COHN
                                            UNITED STATES DISTRICT JUDGE


I hereby certify that a copy of the foregoing document was mailed to counsel of record on
this date, October 4, 2011, by electronic and/or ordinary mail.


                                             s/Julie Owens
                                            Case Manager, (313) 234-5160




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